         Case 1:18-cr-10270-RWZ Document 37 Filed 01/29/19 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA


         v.                                                 Criminal No. 18-cr-10270-RWZ


 ALLAH MALLORY,

           Defendant.


                   REPORT IN LIEU OF FINAL STATUS CONFERENCE
                        PURSUANT TO LOCAL RULE 116.5(c)

Cabell, U.S.M.J.

       On January 24, 2019, the parties requested that the case be reported to the District Judge

for a pretrial conference, which the court has set for February 6, 2019. As no further status

conferences are necessary before me, I report as follows:

       Local Rule 116.5(c)(1) – Whether the Defendant Requests a Rule 11 Hearing

       The defendant has not requested a Rule 11 hearing.

       Local Rules 116.5(c)(2)(A) – Status of Discovery

       Discovery is substantially complete. There are no discovery issues to report; no discovery

motions have been filed and none are anticipated.

       Local Rule 116.5(c)(2)(C): Whether all Motions under Rule 12(b) Have Been Filed

       No Rule 12(b) motions have been filed to date and none are anticipated at this time.

       Local Rule 116.5(c)(2)(D) – The Status of Excludable Time

       The court has entered orders excluding the time from the defendant’s August 23, 2018

initial appearance through February 6, 2019, the date scheduled for the pretrial conference.
         Case 1:18-cr-10270-RWZ Document 37 Filed 01/29/19 Page 2 of 2



Accordingly, 70 non-excludable days will remain under the STA when and if the pretrial

conference is held as scheduled.

       Local Rule 116.5(c)(2)(E) and (c)(3): Estimate of Trial and Miscellaneous Matters

       The parties estimate a trial would last three days. There are no other matters specific to the

case that would assist the District Judge upon transfer.


                                                      /s/ Donald L. Cabell
                                                      DONALD L. CABELL, U.S.M.J.

DATED: January 29, 2019




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